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                                   3                                 UNITED STATES DISTRICT COURT

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                                                                    NORTHERN DISTRICT OF CALIFORNIA
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                                   7   ANDRES GOMEZ,
                                   8                   Plaintiff,                             No. C 21-7147 WHA

                                   9            v.

                                  10   GATES ESTATES, INC.,                                   ORDER MEMORIALIZING AND
                                                                                              CLARIFYING BENCH RULING
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




                                  13         This order clarifies the Court’s bench ruling made on the record at yesterday’s hearing on

                                  14   defendant’s motion to dismiss.

                                  15         By Monday, February 14 at noon, plaintiff may file a stipulation that the basis for his

                                  16   standing to bring this lawsuit is that he is a “tester” solely for defendant’s website. That is, that

                                  17   plaintiff only desires to use defendant’s website; that plaintiff has no intent or desire to avail

                                  18   himself of, and that he has not been deterred from availing himself of, the services of

                                  19   defendant’s physical office, as a “tester” or otherwise.

                                  20         If plaintiff files a clear-cut stipulation so stating, the motion to dismiss will be granted on

                                  21   that question of law and plaintiff may appeal.

                                  22         Otherwise, the motion will be denied and the Court will order discovery as stated on the

                                  23   record at the hearing.

                                  24        IT IS SO ORDERED.

                                  25   Dated: February 11, 2022

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                                                                                                  WILLIAM ALSUP
                                  28                                                              UNITED STATES DISTRICT JUDGE
